(1 of 59), Page 1 of 59     Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 1 of 59




                                                     No. 24-5071
                                        _____________________________________

                                UNITED STATES COURT OF APPEALS
                                    FOR THE NINTH CIRCUIT
                                        _____________________________________

                              REPUBLICAN NATIONAL COMMITTEE, et al.,
                                                         Plaintiffs-Appellants,
                                              v.
               CARI-ANN BURGESS, in her official capacity as the Washoe County Registrar of
                                           Voters, et al.,
                                                              Defendants-Appellees,
                                     VET VOICE FOUNDATION, et al.,
                                                     Intervenor-Defendants–Appellees.
                                        _____________________________________

                                On Appeal from the United States District Court
                              for the District of Nevada, Case No. 3:24-CV-00198
                                               Hon. Miranda M. Du
                                        _____________________________________

                                    APPELLANTS’ OPENING BRIEF
                                        _____________________________________


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(2 of 59), Page 2 of 59      Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 2 of 59




                               CORPORATE DISCLOSURE STATEMENT
                    The Republican National Committee, Nevada Republican Party, and Never

             Surrender, Inc. (formerly Donald J. Trump for President 2024, Inc.) are not subsidiaries

             or affiliates of any parent corporation or any publicly held corporation and no

             corporation owns 10% or more of their stock. No publicly owned corporation not a

             party to this case has a financial interest in the outcome of this case.




                                                          ii
(3 of 59), Page 3 of 59               Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 3 of 59




                                                             TABLE OF CONTENTS
             Corporate Disclosure Statement .............................................................................................. ii
             Table of Contents ....................................................................................................................... iii
             Table of Authorities .................................................................................................................... v
             Introduction ................................................................................................................................. 1
             Jurisdictional Statement.............................................................................................................. 3
             Statement of the Issues Presented for Review ...................................................................... 4
             Statutory Addendum ................................................................................................................... 4
             Statement of the Case ................................................................................................................. 4
             Standard of Review ................................................................................................................... 10
             Summary of the Argument ...................................................................................................... 11
             Argument .................................................................................................................................... 13
                 I.   The Plaintiff organizations have direct organizational standing. ......................... 13
                      A. The RNC and NVGOP pled plausible competitive and electoral
                         injuries. ..................................................................................................................... 14
                         1. Being forced to participate in Nevada’s “illegally structured
                             competitive environment” is a concrete injury. ......................................... 15
                         2. Plaintiffs plausibly alleged that permitting post-election receipt of
                             mail ballots causes competitive and electoral injury to Republican
                             candidates. ......................................................................................................... 20
                         3. Plaintiffs’ injuries are redressable by an order enjoining Defendants
                             from enforcing the post-election deadline. ................................................. 24
                      B. The Plaintiff organizations plausibly alleged harm to their preexisting
                         core activities. .......................................................................................................... 27
                         1. Nevada’s post-election ballot-receipt deadline impedes the
                             Plaintiffs’ activities to turn out Republican voters and elect
                             Republican candidates. .................................................................................... 28
                         2. The Plaintiff organizations have plausibly alleged causation and
                             redressability. .................................................................................................... 36
                         3. The district court analyzed the wrong injuries. .......................................... 38
                 II. Plaintiff organizations have associational standing. ................................................ 40
                 III. The district court improperly disputed Plaintiffs’ factual claims. ........................ 43


                                                                                   iii
(4 of 59), Page 4 of 59               Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 4 of 59




               IV. In the alternative, the Court should remand with instructions to enter
                   dismissal without prejudice.......................................................................................... 47
             Conclusion .................................................................................................................................. 48
             Certificate of Compliance ........................................................................................................ 50
             Certificate of Service ................................................................................................................. 50
             Certificate of Paper Copies ...................................................................................................... 50
             Addendum of Statutory Provisions ......................................................................................... 1




                                                                                   iv
(5 of 59), Page 5 of 59              Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 5 of 59




                                                        TABLE OF AUTHORITIES
             Cases
             Arakaki v. Lingle,
              477 F.3d 1048 (9th Cir. 2007) ............................................................................................. 10
             Ariz. All. for Retired Ams. v. Mayes,
              117 F.4th 1165 (9th Cir. 2024) .................................................................................... passim
             Arizona v. Yellen,
              34 F.4th 841 (9th Cir. 2022) ................................................................................................ 10
             Ashcroft v. Iqbal,
              556 U.S. 662 (2009) ............................................................................................................... 23
             Becker v. FEC,
               230 F.3d 381 (1st Cir. 2000) ................................................................................................ 36
             Bell Atl. Corp. v. Twombly,
               550 U.S. 544 (2007) ............................................................................................................... 23
             Bernhardt v. Cnty. of Los Angeles,
               279 F.3d 862 (9th Cir. 2002) ............................................................................................... 38
             Bognet v. Degraffenreid,
               141 S. Ct. 2508 (2021) ............................................................................................................ 6
             Bognet v. Sec’y Commonwealth of Pa.,
               980 F.3d 336 (3d Cir. 2020) ................................................................................................... 6
             Bost v. Ill. State Bd. of Elections,
               114 F.4th 634 (7th Cir. 2024) ................................................................................................ 6
             Bost v. Ill. State Bd. of Elections,
               684 F. Supp. 3d 720 (N.D. Ill. July 26, 2023) ..................................................................... 6
             Bush v. Gore,
               531 U.S. 98 (2000) ................................................................................................................. 41
             Carney v. Adams,
               592 U.S. 53 (2020) ................................................................................................................. 41
             Carson v. Simon,
               978 F.3d 1051 (8th Cir. 2020) ................................................................................ 12, 40, 42
             Carter v. HealthPort Techs., LLC,
               822 F.3d 47 (2d Cir. 2016) ................................................................................................... 45
             City of Oakland v. Hotels.com LP,
               572 F.3d 958 (9th Cir. 2009) .................................................................................. 13, 46, 47

                                                                                v
(6 of 59), Page 6 of 59              Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 6 of 59




             Common Cause Ind. v. Lawson,
               937 F.3d 944 (7th Cir. 2019) .................................................................................. 33, 34, 37
             Crawford v. Marion Cnty. Election Bd.,
               472 F.3d 949 (7th Cir. 2007) ............................................................................................... 37
             Democratic Cong. Campaign Comm. v. Kosinski,
               614 F. Supp. 3d 20 (S.D.N.Y. 2022) .................................................................................. 29
             Dep’t of Commerce v. New York,
               588 U.S. 752 (2019) ............................................................................................................... 26
             Desert Citizens Against Pollution v. Bisson,
               231 F.3d 1172 (9th Cir. 2000) ............................................................................................. 43
             Donald J. Trump for President, Inc. v. Bullock,
              491 F. Supp. 3d 814 (D. Mont. 2020)................................................................................ 19
             Donald J. Trump for President, Inc. v. Cegavske,
              488 F. Supp. 3d 993 (D. Nev. 2020) ....................................................................... 6, 18, 38
             Donald J. Trump for President, Inc. v. Way,
              2020 WL 6204477 (D.N.J. Oct. 22, 2020) .......................................................................... 7
             Drake v. Obama,
              664 F.3d 774 (9th Cir. 2011) ............................................................................................... 22
             Fair Elections Ohio v. Husted,
               770 F.3d 456 (6th Cir. 2014) ............................................................................................... 30
             FDA v. All. for Hippocratic Med.,
              602 U.S. 367 (2024) ....................................................................................................... passim
             FEC v. Cruz,
              596 U.S. 289 (2022) ........................................................................................................ 12, 41
             Foster v. Love,
               522 U.S. 67 (1997) ................................................................................................................. 25
             Freeman v. Oakland Unified Sch. Dist.,
               179 F.3d 846 (9th Cir. 1999) ............................................................................................... 47
             Friends of the Earth v. Sanderson Farms, Inc.,
               992 F.3d 939 (9th Cir. 2021) ............................................................................................... 45
             Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc.,
               528 U.S. 167 (2000) ............................................................................................................... 36
             Havens Realty Corp. v. Coleman,
              455 U.S. 363 (1982) ....................................................................................................... passim


                                                                                vi
(7 of 59), Page 7 of 59              Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 7 of 59




             Hunt v. Wash. State Apple Advert. Comm’n,
              432 U.S. 333 (1977) ............................................................................................................... 40
             Idaho Conservation League v. Bonneville Power Admin.,
               83 F.4th 1182 (9th Cir. 2023) .............................................................................................. 41
             Jacobs v. Clark Cnty. Sch. Dist.,
                526 F.3d 419 (9th Cir. 2008) ............................................................................................... 14
             Kelly v. Fleetwood Enters.,
               377 F.3d 1034 (9th Cir. 2004) ............................................................................................. 47
             La Asociacion de Trabajadores de Lake Forest v. Lake Forest,
               624 F.3d 1083 (9th Cir. 2010) ............................................................................................. 34
             Leite v. Crane Co.,
               749 F.3d 1117 (9th Cir. 2014) ............................................................................................. 45
             Leonard v. Clark,
               12 F.3d 885 (9th Cir. 1993).................................................................................................. 11
             Lujan v. Defs. of Wildlife,
               504 U.S. 555 (1992) ....................................................................................................... passim
             Maya v. Centex Corp.,
              658 F.3d 1060 (9th Cir. 2011) ............................................................................................. 39
             Mecinas v. Hobbs,
              30 F.4th 890 (9th Cir. 2022) ........................................................................................ passim
             Missouri ex rel. Koster v. Harris,
              847 F.3d 646 (9th Cir. 2017) .................................................................................. 13, 46, 47
             OCA-Greater Hous. v. Texas,
              867 F.3d 604 (5th Cir. 2017) ...........................................................................................8, 32
             Owen v. Mulligan,
              640 F.2d 1130 (9th Cir. 1981) ......................................................................... 16, 17, 19, 24
             Planned Parenthood of Greater Wash. & N. Idaho v. HHS,
               946 F.3d 1100 (9th Cir. 2020) ......................................................................... 17, 20, 21, 25
             Preminger v. Peake,
               552 F.3d 757 (9th Cir. 2008) ............................................................................................... 14
             Republican Nat’l Comm. v. N.C. State Bd. of Elections,
               120 F.4th 390 (4th Cir. Oct. 29, 2024) ................................................................. 31, 32, 37
             Republican Nat’l Comm. v. Wetzel,
               120 F.4th 200 (5th Cir. 2024) ...................................................................................... passim


                                                                              vii
(8 of 59), Page 8 of 59              Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 8 of 59




             Republican Nat’l Comm. v. Wetzel,
               2024 WL 3559623 (S.D. Miss. July 28, 2024) .......................................................... passim
             Roe v. Alabama ex rel. Evans,
               43 F.3d 574 (11th Cir. 1995) ............................................................................................... 41
             Shays v. FEC,
               414 F.3d 76 (D.C. Cir. 2005) ....................................................................................... passim
             Sierra Club v. EPA,
                699 F.3d 530 (D.C. Cir. 2012) ............................................................................................. 41
             Splonskowski v. White,
               714 F. Supp. 3d 1099 (D.N.D. 2024) .................................................................................. 7
             Spokeo, Inc. v. Robins,
               578 U.S. 330 (2016) ............................................................................................................... 18
             Storer v. Brown,
               415 U.S. 724 (1974) ................................................................................................................. 3
             Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll.,
               600 U.S. 181 (2023) ............................................................................................................... 35
             Summers v. Earth Island Inst.,
               555 U.S. 488 (2009) ............................................................................................................... 32
             Tex. Democratic Party v. Benkiser,
               2006 WL 1851295 (W.D. Tex. July 6, 2006) .................................................................... 22
             Tex. Democratic Party v. Benkiser,
               459 F.3d 582 (5th Cir. 2006) ........................................................................... 15, 20, 22, 42
             Townley v. Miller,
               722 F.3d 1128 (9th Cir. 2013) ...................................................................................... 25, 26
             Trump v. Wis. Elections Comm’n,
               983 F.3d 919 (7th Cir. 2020) ............................................................................................... 40
             Vill. of Arlington Heights v. Metro. Hous. Dev. Corp.,
              429 U.S. 252 (1977) .................................................................................................. 13, 28, 30
             Vote.Org v. Callanen,
              89 F.4th 459 (5th Cir. 2023) ............................................................................................8, 32
             Warth v. Seldin,
              422 U.S. 490 (1975) ........................................................................................... 40, 43, 44, 46
             Wood v. Raffensperger,
              981 F.3d 1307 (11th Cir. 2020) ........................................................................................... 41


                                                                              viii
(9 of 59), Page 9 of 59                Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 9 of 59




             Statutes
             2 U.S.C. §1 ......................................................................................................................... 1, 3, 41
             2 U.S.C. §7 ................................................................................................................................ 1, 3
             28 U.S.C. §1291............................................................................................................................ 3
             28 U.S.C. §1294............................................................................................................................ 3
             28 U.S.C. §1331............................................................................................................................ 3
             28 U.S.C. §1343............................................................................................................................ 3
             3 U.S.C. §1 ......................................................................................................................... 1, 3, 41
             Act of Feb. 2, 1872, ch. 11, §3, 17 Stat. 28 ............................................................................. 4
             Act of Jan. 23, 1845, ch. 1, 5 Stat. 721 .................................................................................... 4
             Act of June 4, 1914, ch. 103, §1, 38 Stat. 384 ........................................................................ 4
             Nev. Rev. Stat. §293.269921 ............................................................................................ passim
             Nev. Rev. Stat. §293.269929 .................................................................................................... 29
             Nev. Rev. Stat. §293.269931 .................................................................................................... 29
             Nev. Rev. Stat. §293.317 (2019)................................................................................................ 5
             Other Authorities
             Nat’l Conf. of State Legislatures, Table 11: Receipt and Postmark Deadlines for
              Absentee/Mail Ballots (June 12, 2024), perma.cc/X254-RTK2 ........................................ 6
             Overseas Absentee Voting: Hearing on S. 703 before the S. Comm. on Rules and Admin., 95th
               Cong. 33-34 (1977) .................................................................................................................. 5
             Rules
             Nev. Admin. Code §293.322 ................................................................................................... 29
             Nev. Admin. Code §293.356 ................................................................................................... 29




                                                                                   ix
(10 of 59), Page 10 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 10 of 59




                                               INTRODUCTION
                    Congress established a single “day for the election” of members of Congress and

             the appointment of presidential electors. 2 U.S.C. §§1, 7; 3 U.S.C. §1. Just last month,

             the Fifth Circuit held that “[t]ext, precedent, and historical practice confirm this ‘day

             for the election’ is the day by which ballots must be both cast by voters and received by

             state officials.” Republican Nat’l Comm. v. Wetzel, 120 F.4th 200, 203-04 (5th Cir. 2024).

             But under Nevada law, elections do not end on election day. Instead, Nevada law

             permits receipt of mail ballots up to four business days after election day so long as those

             ballots are postmarked on or before election day. Nev. Rev. Stat. §293.269921(1). If the

             date of the postmark cannot be determined, Nevada still requires counting those ballots

             if received up to three days after election day. Id. §293.269921(2). But that practice of

             receiving ballots “after the federal election day” is “preempted by federal law.” RNC v.

             Wetzel, 120 F.4th at 204.

                    In May 2024, the Republican National Committee (RNC), the Nevada

             Republican Party (NVGOP), Donald J. Trump For President 2024, Inc.,1 and Nevada

             Republican voter Donald Szymanski filed this lawsuit challenging Nevada’s post-

             election receipt deadline for mail ballots. Nevada’s mail-ballot deadline concretely

             harms Plaintiffs in numerous ways. Post-election receipt of ballots increases and

             prolongs electoral competition for mail ballots between Plaintiffs and their political


             1
              Donald J. Trump For President 2024, Inc. has changed its name to Never Surrender,
             Inc.

                                                          1
(11 of 59), Page 11 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 11 of 59




             rivals past election day. It requires the Plaintiffs to run mail-ballot chase programs

             through election day, which diverts resources from their in-person turnout efforts,

             election-integrity programs, and post-election activities. And it injures Republican

             candidates, who are members of Plaintiffs’ organizations, by creating an inaccurate vote

             tally due to the counting of invalid mail ballots received after election day. Each of these

             injuries is a concrete harm to the Plaintiffs, redressable by an order enjoining

             enforcement of Nevada’s post-election receipt rules.

                    When a federal court in Mississippi addressed these same issues on summary

             judgment, it held that there was no material dispute of fact that Mississippi’s post-

             election receipt of mail ballots injured the RNC, the Mississippi Republican Party, and

             the Libertarian Party. See Republican Nat’l Comm. v. Wetzel, __ F. Supp. 3d __, 2024 WL

             3559623, at *2 (S.D. Miss. July 28, 2024), rev’d on other grounds, 120 F.4th 200. No party

             challenged that ruling on appeal, “presumably because this case fits comfortably within

             our precedents.” RNC v. Wetzel, 120 F.4th at 205 n.3. After assuring itself of jurisdiction,

             the Fifth Circuit reversed on the merits, holding that Mississippi’s law permitting post-

             election receipt of mail ballots “is preempted” by federal law. Id. at 215.

                    But the district court in this case concluded that the RNC and NVGOP failed

             even to plead an injury caused by a State’s post-election receipt of ballots. ER-6. The

             district court ruled that Plaintiffs had not produced enough “evidence” at the pleading

             stage to prove their injuries. ER-11. And the district court stated that Plaintiffs’

             associational standing to represent the Republican candidates who are their members

                                                          2
(12 of 59), Page 12 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 12 of 59




             did not even “warrant discussion.” ER-17. While recognizing that Nevada’s mail ballot

             deadline would cause Plaintiffs to make “additional expenditures” and likely require

             Plaintiffs to “devote more resources to poll watching and election-integrity trainings,”

             the district court ruled that these injuries were not legally “cognizable.” ER-11, 12. If

             upheld, the district court’s ruling threatens to deprive political party organizations of

             every stripe—Republican, Democrat, and Libertarian alike—of standing to challenge

             election rules that directly affect the final vote tally. Article III does not bar the

             courthouse doors to America’s political parties, who are essential to the very “fabric of

             government,” Storer v. Brown, 415 U.S. 724, 736 (1974). This Court should reverse the

             district court’s ruling and allow Plaintiffs’ suit to proceed.

                                      JURISDICTIONAL STATEMENT
                    The district court had subject-matter jurisdiction under 28 U.S.C. §§1331 and

             1343, as Plaintiffs’ suit presents a federal question concerning whether Nevada’s mail-

             ballot deadline is legally valid under federal statutes, 2 U.S.C. §§1, 7; 3 U.S.C. §1, and

             the First and Fourteenth Amendments to the U.S. Constitution.

                    On July 17, 2024, the district court dismissed the case under Federal Rule of Civil

             Procedure 12(b)(1) for lack of standing. Plaintiffs filed a notice of appeal on August 16,

             2024, which is timely under Fed. R. App. P. 3(a)(1), 4(a)(1), and 26(a)(1)(A)-(C). This

             Court thus has appellate jurisdiction under 28 U.S.C. §§1291, 1294(1).




                                                           3
(13 of 59), Page 13 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 13 of 59




                     STATEMENT OF THE ISSUES PRESENTED FOR REVIEW
                    1) Did the district court err in holding that Plaintiffs’ complaint does not allege

             direct organizational standing to challenge Nevada’s mail-ballot deadline?

                    2) Did the district court err in refusing to analyze Plaintiffs’ associational standing

             to represent Republican candidates who are directly injured by an inaccurate vote tally?

                    3) Did the district court err in concluding that Plaintiffs must produce “evidence”

             of an injury at the pleading stage to demonstrate standing?

                    4) In the alternative, should this Court remand with instructions to enter

             dismissal without prejudice?

                                          STATUTORY ADDENDUM
                    The text of the pertinent constitutional and statutory provisions is reproduced in

             an accompanying addendum under Circuit Rule 28-2.7.

                                        STATEMENT OF THE CASE
                    Well over a century ago, Congress established a uniform day for congressional

             and presidential elections. In 1845, Congress mandated that in presidential election

             years “[t]he electors of President and Vice President shall be appointed, in each State,

             on the Tuesday next after the first Monday in the month of November.” Act of Jan.

             23, 1845, ch. 1, 5 Stat. 721. After the Civil War, Congress extended the rule to the House

             of Representatives, providing that “the Tuesday next after the first Monday in

             November, in every second year … is hereby fixed and established as the day for the

             election.” Act of Feb. 2, 1872, ch. 11, §3, 17 Stat. 28. And soon after the Seventeenth


                                                           4
(14 of 59), Page 14 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 14 of 59




             Amendment was ratified in the early twentieth century, Congress included Senators in

             the uniform election day. Act of June 4, 1914, ch. 103, §1, 38 Stat. 384. By necessity,

             elections throughout this period were conducted on a single day, and votes were cast

             and received in person.

                    Post-election receipt of absentee ballots is a relatively new phenomenon. In 1971,

             the Department of Defense surveyed state absentee-ballot deadlines. Overseas Absentee

             Voting: Hearing on S. 703 before the S. Comm. on Rules and Admin., 95th Cong. 33-34 (1977)

             (Statement of John C. Broger, Deputy Coordinator of the Federal Voting Assistance

             Program, Department of Defense), perma.cc/P4PK-LTL2. At that time, 48 States plus

             Guam, Puerto Rico, the Virgin Islands, and Washington, D.C., counted ballots only if

             received by election day at the latest. Id. Only two States counted ballots received after

             election day: Nebraska accepted ballots one day after the election if “voted” on election

             day. Id. at 33. And Washington accepted ballots received up to fifteen days after the

             election if “voted” on election day. Id. at 34.

                    Until recently, Nevada—like most States—prohibited mail ballots from being

             counted if they were received after election day. Nevada law established that mail ballots

             received “after the polls are closed on the day of election are invalid.” Nev. Rev. Stat.

             §293.317 (2019). Election day was the day that voters, candidates, campaigns, and

             election officials shifted their focus to in-person voting. Mail-ballot programs gave way

             to election-day turnout efforts as parties, candidates, and campaigns worked to get their

             voters to the polls.

                                                          5
(15 of 59), Page 15 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 15 of 59




                    Expanded mail-voting has changed those practices. Recently, some States began

             counting mail ballots that are received after election day. See Nat’l Conf. of State

             Legislatures, Table 11: Receipt and Postmark Deadlines for Absentee/Mail Ballots (June 12,

             2024), perma.cc/X254-RTK2. Many of those States, including Nevada, adopted post-

             election deadlines only “for elections impacted by emergencies or disasters” in response

             to the COVID-19 pandemic. Donald J. Trump for President, Inc. v. Cegavske, 488 F. Supp.

             3d 993, 996 (D. Nev. 2020). But in 2021, the Nevada Legislature codified post-election

             receipt of mail ballots for all elections regardless of emergency or disaster. See Act of

             June 2, 2021, A.B. No. 321, 2021 Nev. Laws Ch. 248, §56 (codified at Nev. Rev. Stat.

             §293.269921). Nevada law now permits mail ballots to be received up to four days after

             Election Day and allows mail ballots to be counted if “the date of the postmark cannot

             be determined” and the ballot is received by the third day following Election Day. Nev.

             Rev. Stat. §293.269921.

                    Some recent changes to ballot-receipt deadlines have been challenged in federal

             court. In Illinois, voters and political candidates challenged the State’s receipt of ballots

             up to fourteen days after the election. See Bost v. Ill. State Bd. of Elections, 684 F. Supp. 3d

             720 (N.D. Ill. 2023). The district court dismissed the complaint on standing grounds,

             and the Seventh Circuit affirmed over a partial dissent by Judge Scudder. See Bost v. Ill.

             State Bd. of Elections, 114 F.4th 634, 644 (7th Cir. 2024). In Pennsylvania, the Third

             Circuit similarly ruled that a candidate did not have standing to challenge the State’s

             three-day post-election receipt deadline. See Bognet v. Sec’y Commonwealth of Pa., 980 F.3d

                                                            6
(16 of 59), Page 16 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 16 of 59




             336, 347-52 (3d Cir. 2020). The Supreme Court granted certiorari and vacated the Third

             Circuit’s decision. See Bognet v. Degraffenreid, 141 S. Ct. 2508 (2021). In New Jersey, the

             RNC, New Jersey Republican State Committee, and 2020 Trump Campaign challenged

             New Jersey’s rule permitting receipt of ballots up to two days after election day even if

             they lack a postmark. See Donald J. Trump for President, Inc. v. Way, 2020 WL 6204477, at

             *4 (D.N.J. Oct. 22, 2020). The district court ruled that the plaintiffs did not have

             standing based on their voter-education and poll-watching efforts. See id. at *10-11. The

             plaintiffs did not appeal. Finally, in North Dakota, a county election auditor challenged

             North Dakota’s law requiring him to count ballots that are received after election day

             but prior to the canvassing board’s meeting, alleging a conflict of his duties that

             subjected him to criminal prosecution. Splonskowski v. White, 714 F. Supp. 3d 1099, 1101

             (D.N.D. 2024). The district court dismissed the complaint after finding that the plaintiff

             was “not subject to criminal prosecution under any of the statutes mandating his duties

             as a member of the canvassing board.” Id. at 1104.

                    More recently, the RNC, the Mississippi Republican Party, and the Libertarian

             Party of Mississippi challenged Mississippi’s law requiring election officials to count

             mail ballots received up to five business days after the election. See RNC v. Wetzel, 2024

             WL 3559623, at *1. On summary judgment, the district court held that all three

             organizations had standing because “the Mississippi statute will cause them to curtail

             and divert resources away from specific activities and projects—registration of

             Republican voters and efforts to increase in-person turnout—in order to perform more

                                                         7
(17 of 59), Page 17 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 17 of 59




             extensive and expensive ballot-chasing and poll-watching efforts necessitated by the

             acceptance of absentee ballots received after election day.” Id. at *4. Those injuries “are

             specific to each party,” they “are fairly traceable to the Mississippi statute’s five-day

             receipt requirement for absentee ballots,” and they are redressable by “granting

             Plaintiffs’ requests for declaratory and injunctive relief.” Id. at *5. The court then ruled

             against the plaintiffs on the merits, holding that Mississippi’s post-election day receipt

             of mail ballots did not conflict with the federal statutes establishing a uniform national

             election day. See id. at *11.

                    On appeal, no party disputed the district court’s ruling that the Republican and

             Libertarian organizations had standing. As the Fifth Circuit observed, “[t]hat is

             presumably because this case fits comfortably within our precedents.” RNC v. Wetzel,

             120 F.4th at 205 n.3 (citing OCA-Greater Hous. v. Texas, 867 F.3d 604, 610 (5th Cir.

             2017); Vote.Org v. Callanen, 89 F.4th 459, 471 (5th Cir. 2023)). The Fifth Circuit then

             reversed the district court on the merits. Under federal law, “the election concludes

             when all ballots are received.” Id. at 211. By permitting mail ballots to be received up to

             five business days after the election, Mississippi violated the federal statutes requiring

             States to abide by a uniform day for the election. Id. at 215.

                    About four months after the RNC filed the case in Mississippi, it filed this case

             in Nevada. Joined by the NVGOP, the 2024 Trump Campaign, and Mr. Szymanski, the

             RNC sued Nevada’s Secretary of State and the relevant county election officials

             responsible for implementing Nevada’s mail-ballot deadline. ER-24. The RNC is the

                                                          8
(18 of 59), Page 18 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 18 of 59




             national arm of the Republican Party, organizing the nominating convention for the

             Republican presidential and vice-presidential candidates and representing over 30

             million registered Republicans across America. ER-22. The NVGOP represents over

             550,000 registered Republican voters in Nevada. ER-23. Donald J. Trump For

             President 2024, Inc. was the principal committee for President Donald J. Trump’s 2024

             reelection campaign. ER-23. Donald Szymanski is a registered Republican voter and a

             resident of Clark County, Nevada. ER-23.

                    Plaintiffs’ complaint explains the numerous injuries they suffer as a result of

             Nevada’s post-election receipt deadline. The Republican committees and the campaign

             suffer distinct competitive electoral harms from the mail-ballot deadline. Because

             “Democrats disproportionately vote[] by mail compared to Republicans,” and because

             “[m]ail ballots from Democratic voters also tend to arrive late,” Republican

             organizations and candidates suffer a distinct electoral injury from the post-election

             receipt deadline. ER-31. The RNC and NVGOP must also curb in-person turnout

             activities to run “mail-ballot-specific get-out-the-vote operations to encourage mail

             ballot voters to return their mail ballots through Election Day.” ER-29. Allowing post-

             election receipt of mail ballots also requires the RNC and NVGOP to divert time and

             resources to post-election activities, such as observing “the handling and counting of

             mail ballots.” ER-29. The Plaintiffs also alleged that Mr. Szymanski, as a registered

             Republican voter, suffers an injury when ballots that violate federal law are included in

             the final tally, diluting his own vote. ER-29, 32. Plaintiffs seek a declaratory judgment

                                                        9
(19 of 59), Page 19 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 19 of 59




             that Nevada’s revised mail ballot deadline violates federal law, and a permanent

             injunction prohibiting the state and county Defendants from enforcing the revised

             deadline.

                    Several organizations, including the Democratic National Committee, Vet Voice

             Foundation, and the Nevada Alliance for Retired Americans, moved to intervene as

             Defendants in support of Nevada’s post-election deadline. The court granted all

             intervention motions. The Secretary of State, the DNC, and Vet Voice each moved to

             dismiss the Plaintiffs’ complaint under Rules 12(b)(1) and 12(b)(6). The district court

             granted the Defendants’ motions, concluding that Plaintiffs “do not have standing” to

             challenge Nevada’s post-election receipt of ballots “merely because it might create more

             work for them” or result in “additional expenditures.” ER-12, 13. The court deemed

             the organization’s electoral injuries speculative because the court was “entirely

             uncertain” how the post-election receipt of ballots “would play out for Republican

             candidates in Nevada this November.” ER-8. And the court concluded that Plaintiffs’

             associational standing on behalf of Republican candidates did “not warrant discussion.”

             ER-11, 17. Plaintiffs timely appealed the district court’s dismissal. ER-37.

                                          STANDARD OF REVIEW
                    “Standing is a legal issue subject to de novo review.” Arakaki v. Lingle, 477 F.3d

             1048, 1056 (9th Cir. 2007). When standing is challenged at the pleading stage, “general

             factual allegations of injury” may “suffice,” because courts must “presume that general

             allegations embrace those specific facts that are necessary to support the claim.” Lujan


                                                        10
(20 of 59), Page 20 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 20 of 59




             v. Defs. of Wildlife, 504 U.S. 555, 561 (1992) (cleaned up). Indeed, in analyzing standing,

             this Court must view the merits of Plaintiffs’ claims “through [Plaintiffs’] eyes.” Arizona

             v. Yellen, 34 F.4th 841, 849 (9th Cir. 2022). And in a suit such as this one with multiple

             plaintiffs, only “one of the plaintiffs” need demonstrate standing for the suit to proceed.

             Leonard v. Clark, 12 F.3d 885, 888 (9th Cir. 1993).

                                     SUMMARY OF THE ARGUMENT
                    The district court erred in dismissing Plaintiffs’ complaint for lack of standing.

             Plaintiffs plausibly pled that Nevada’s revised mail-ballot deadline causes them and their

             members at least three injuries, each of which are sufficient for standing.

                    First, Nevada’s law increases and prolongs the competition for mail ballots

             between Plaintiffs and their political rivals past Election Day. ER-21-23, 29-31. It forces

             Plaintiffs to compete for mail ballots in an “illegally structured competitive

             environment” that disproportionately disadvantages Republican candidates. Mecinas v.

             Hobbs, 30 F.4th 890, 898 (9th Cir. 2022) (cleaned up). Nevada’s multi-day election

             “makes the competitive landscape worse” for Plaintiffs, id., by extending the

             competition for mail ballots for four days past Election Day, ER-30-32. Further,

             Nevada’s extended deadline for mail ballots disproportionately benefits Democrats,

             whose voters overwhelmingly tend to vote by mail and return those ballots later than

             Republicans. ER-30-32.

                    Second, Nevada’s post-election deadline for mail ballots harms the RNC and

             NVGOP’s core activities. Because the later deadline effectively extends the competition


                                                         11
(21 of 59), Page 21 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 21 of 59




             for mail ballots, Plaintiffs must divert resources from other in-person turnout efforts

             to run mail-ballot chase programs through election day. ER-22-23, 28-29. Replacing an

             election-day deadline with a postmark rule also means that Plaintiffs must divert

             additional resources to poll-watching efforts and post-election observation. ER-22-23,

             28-29. Each of these injuries impedes the RNC and NVGOP’s efforts to turn out

             Republican voters and elect Republican candidates, and they’ve had to divert resources

             from other core activities to counteract those injuries. See Havens Realty Corp. v. Coleman,

             455 U.S. 363, 378-80 (1982).

                    Third, the RNC and NVGOP have associational standing to represent their

             candidate members who are injured by counting ballots that are invalid under federal

             law. As Republican organizations, Plaintiffs represent “Republican candidates” in

             Nevada elections and other States “for election to the Presidency, U.S. Senate, and U.S.

             House of Representatives.” ER-22. Those candidates “have a cognizable interest in

             ensuring that the final vote tally accurately reflects the legally valid votes cast.” Carson v.

             Simon, 978 F.3d 1051, 1058 (8th Cir. 2020). For standing purposes, this Court must

             “accept as valid the merits of [the plaintiffs’] legal claims” that votes received after

             election day violate federal law. FEC v. Cruz, 596 U.S. 289, 298 (2022). And by counting

             those invalid ballots, Defendants directly injure Plaintiffs’ candidate members. The

             district court didn’t even address this basis for Plaintiffs’ standing.

                    The district court also erred by requiring Plaintiffs to prove their standing with

             “evidence” at the pleading stage. ER-11. The court disputed Plaintiffs’ factual

                                                           12
(22 of 59), Page 22 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 22 of 59




             allegations, disagreed with Plaintiffs’ sources, demanded “more specific information,”

             and speculated how Plaintiffs’ factual allegations might be wrong. ER-7, 11. Each of

             these errors improperly raises the bar to plead a plausible claim. Lujan, 504 U.S. at 561.

                    Finally, even if this Court affirms the district court’s dismissal of the complaint,

             it should remand with instructions to enter that dismissal without prejudice. “In general,

             dismissal for lack of subject matter jurisdiction is without prejudice.” Missouri ex rel.

             Koster v. Harris, 847 F.3d 646, 656 (9th Cir. 2017). But the district court immediately

             closed the case after dismissing Plaintiffs’ complaint. In this circumstance, when this

             Court agrees that dismissal was appropriate, it will “affirm the dismissal for lack of

             subject matter jurisdiction but remand so that the dismissal is without prejudice.” City

             of Oakland v. Hotels.com LP, 572 F.3d 958, 962 (9th Cir. 2009).

                                                  ARGUMENT
               I.   The Plaintiff organizations have direct organizational standing.
                    The “essence” of constitutional standing is “whether the plaintiff has alleged

             such a personal stake in the outcome of the controversy as to warrant his invocation of

             federal-court jurisdiction.” Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S.

             252, 260-61 (1977) (cleaned up). Political parties and campaigns have a “personal stake”

             in the rules that govern the elections in which they participate. Id. And they are

             organizations, which “have standing ‘to sue on their own behalf for injuries they have

             sustained.’” FDA v. All. for Hippocratic Med., 602 U.S. 367, 393 (2024) (citation omitted).




                                                         13
(23 of 59), Page 23 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 23 of 59




                    For direct organizational standing, Plaintiffs must have “been injured or will

             imminently be injured,” the “defendant’s conduct” must have caused the injury, and

             the injury must be redressable. Ariz. All. for Retired Ams. v. Mayes, 117 F.4th 1165, 1172

             (9th Cir. 2024). The alleged injury “may be minimal,” amounting to nothing more than

             “an identifiable trifle.” Preminger v. Peake, 552 F.3d 757, 763 (9th Cir. 2008) (citation

             omitted). The RNC and NVGOP comfortably clear this bar by alleging plausible

             competitive and electoral injuries, as well as injuries to their preexisting organizational

             activities.2 Each is sufficient to confer standing.

                    A.      The RNC and NVGOP pled plausible competitive and electoral
                            injuries.

                    “Competitive standing recognizes the injury that results from being forced to

             participate in an illegally structured competitive environment.” Mecinas v. Hobbs, 30

             F.4th 890, 898 (9th Cir. 2022) (cleaned up). It is “neither novel nor unique to the realm

             of the electoral.” Id. “[A] candidate and a candidate’s political party can assert standing

             based on their shared interest in ‘fair competition….’” Id. at 898 n.3.

                    The RNC and NVGOP suffer two forms of competitive injury. First, Nevada’s

             post-election receipt deadline unlawfully lengthens the competition for mail ballots,



             2
               The 2024 Trump Campaign had similar interests and injuries in this case as the RNC
             and NVGOP with respect to the reelection of President Trump in the November 2024
             election. Even though President Trump has now won that election, the Ninth Circuit
             examines each claim “to determine whether at least one plaintiff … retains a live claim.”
             Jacobs v. Clark Cnty. Sch. Dist., 526 F.3d 419, 425-26 (9th Cir. 2008). For the reasons
             explained in this brief, the RNC and NVGOP retain live claims.

                                                          14
(24 of 59), Page 24 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 24 of 59




             which requires the RNC and NVGOP to work to prevent their opponents from gaining

             an unfair advantage. Second, Nevada’s post-election receipt deadline disproportionately

             harms Republican candidates’ electoral chances. Each is a valid competitive harm.

                            1.    Being forced to participate in Nevada’s “illegally structured
                                  competitive environment” is a concrete injury.

                    When election rules “illegally structure a competitive environment … parties

             defending concrete interests (e.g., retention of elected office) in that environment suffer

             legal harm under Article III.” Shays v. FEC, 414 F.3d 76, 82, 87 (D.C. Cir. 2005)

             (upholding standing of congressional candidates “waging reelection contests governed

             by” the challenged law). “Voluminous” authority shows that candidates and parties

             suffer injury when their “chances of victory would be reduced.” Tex. Democratic Party v.

             Benkiser, 459 F.3d 582, 587 & n.4 (5th Cir. 2006) (collecting cases). Just two years ago,

             this Court reaffirmed its “long-held position that the ‘potential loss of an election’ may

             give rise to standing.” Mecinas, 30 F.4th at 899 (quoting Townley v. Miller, 722 F.3d 1128,

             1135-36 (9th Cir. 2013)).

                    As the D.C. Circuit has explained, the “illegal structuring of a competitive

             environment” directly harms political candidates. Shays, 414 F.3d at 85; see also Mecinas,

             30 F.4th at 899. In Shays, two members of Congress had standing “as candidates waging

             reelection contests” to challenge several rules promulgated by the Federal Election

             Commission. 414 F.3d at 82. The plaintiffs alleged that the “FEC implementing

             regulations are too lax,” which meant their “opponents may undertake any conduct


                                                         15
(25 of 59), Page 25 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 25 of 59




             permitted by the challenged regulations without fear of penalty.” Id. at 82, 84. This

             “intensified competition” injured the candidates. Id. at 86. They had to “anticipate and

             respond to a broader range of competitive tactics than federal law would otherwise

             allow.” Id. at 86. And the “need to account for additional practices” in strategy and

             “additional campaign activity” supported “Article III standing.” Id.

                    This Court agreed in Owen v. Mulligan, holding that Republican candidates and

             committee leaders had standing to challenge postal-service practices that gave

             preferential mailing rates to Democrats. 640 F.2d 1130, 1131-33 (9th Cir. 1981). Even

             though the practice didn’t directly harm the Republican plaintiffs, it was enough that

             the practice required them to work “to prevent their opponent from gaining an unfair

             advantage in the election process.” Id. at 1133.

                    This Court recently reaffirmed that increased competition caused by an unlawful

             competitive environment is a cognizable injury. In Mecinas v. Hobbs, the DNC challenged

             Arizona’s law requiring that counties list first on the general election ballot the candidate

             affiliated with the political party of the person who received the most votes in that

             county in the last gubernatorial race. 30 F.4th at 898. To show injury, the DNC relied

             on expert testimony of a “psychological phenomenon known as ‘position bias’ or the

             ‘primacy effect’” that results in the first-listed candidate receiving slightly more votes

             simply for being listed first. Id. at 895. This Court found that the DNC had standing,

             explaining that a party or candidate has concrete harm when an “unlawful election

             regulations” makes “the competitive landscape worse.” Id. at 898.

                                                          16
(26 of 59), Page 26 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 26 of 59




                    The Republican organizations have competitive standing regardless of whether

             the post-election deadline actually favors one party over another. That’s because

             Republican committees and candidates “‘are at the very least harmed by having to

             anticipate other actors taking advantage of the regulations to engage in activities that

             otherwise would be barred.’” Shays, 414 F.3d at 87 (citation omitted). As this Court has

             explained outside the electoral context, competitive standing merely requires the

             plaintiff to show that the challenged rule “increases competition.” Planned Parenthood of

             Greater Wash. & N. Idaho v. HHS, 946 F.3d 1100, 1108 (9th Cir. 2020). “[T]he injury is

             the increase in competition.” Id.

                    Plaintiffs alleged an increase in competition caused by extending the time to mail

             absentee ballots. ER-21, 30-32. Plaintiffs must conduct “additional campaign activity,”

             Shays, 414 F.3d at 86, to compete against rival candidates for mail ballots through

             election day, which “makes the competitive landscape worse” for Plaintiffs, Mecinas, 30

             F.4th at 898. Ballot-receipt deadlines that affect the final vote tally, no less than

             campaign-finance rules, “necessarily affect the way these politicians will run their

             campaigns.” Shays, 414 F.3d at 87 (cleaned up). Due to Nevada’s extended deadlines,

             Plaintiffs face “intensified competition,” id., which is enough to give Plaintiffs “a

             personal stake” sufficient for standing, Owen, 640 F.2d at 1133. It is therefore sufficient

             that the post-election deadline forces both parties to work “to prevent their opponent

             from gaining an unfair advantage in the election process.” Id. at 1133.



                                                         17
(27 of 59), Page 27 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 27 of 59




                    Even though this Court has held that an “illegally structured competitive

             environment” is a concrete injury, Mecinas, 30 F.4th at 898, the district court

             “disagree[d]” that “being forced to participate in an ‘illegally structured competitive

             environment’” is “sufficient to confer competitive standing,” ER-9 (cleaned up). In

             place of this Court’s holding, the district court substituted a novel requirement that the

             “Republican candidates” must show some “unique” harm presented by the challenged

             law that unfairly burdens “Republican candidates” but not “their electoral opponents.”

             ER-10 (quoting Donald J. Trump for President, Inc. v. Cegavske, 488 F. Supp. 3d 993, 1003

             (D. Nev. 2020)). But there’s no “uniqueness” requirement for Article III standing. “The

             fact that an injury may be suffered by a large number of people does not of itself make

             that injury a nonjusticiable generalized grievance.” Spokeo, Inc. v. Robins, 578 U.S. 330,

             339 n.7 (2016).

                    But even if “more” were required for competitive standing, ER-9, the Plaintiffs

             allege partisan unfairness, too. Nevada extended the deadline for the type of voting that

             Democrats are more likely to engage in: mail voting. ER-30-31. Because “voting by mail

             is starkly polarized by party” both nationally and in Nevada, extending the deadline to

             mail ballots “specifically harms” the Republican Plaintiffs. ER-30-31. “Mail ballots from

             Democratic voters also tend to arrive late, in part because ‘Democratic get-out-the-vote

             drives—which habitually occur shortly before election day–—may delay maximum

             Democratic voting across-the-board, and produce a ‘blue shift’ in late mail ballots.’”

             ER-31 (citation omitted). So “‘even if Republicans and Democrats voted in person and

                                                        18
(28 of 59), Page 28 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 28 of 59




             by mail at identical levels, Democrats tend to vote later, which in turn (particularly in

             elections with heavy voting by mail) means early Republican leads in close races could

             be fragile.’” ER-31 (citation omitted). Thus, extended mail deadlines produce a

             “resultant unfair disadvantage from that illegality which constitute[s] an injury in fact.”

             ER-9. That the extended deadline at least “arguably promote[s] [their opponent’s]

             electoral prospects” is an injury in fact. Owen, 640 F.2d at 1133; see also Donald J. Trump

             for President, Inc. v. Bullock, 491 F. Supp. 3d 814, 829 (D. Mont. 2020) (holding that the

             2020 Trump campaign had standing to challenge directive that reduces “in-person

             voting opportunities”).

                    The district court also created a new “equal availability” exception to competitive

             injury. The court reasoned that “[a]ny ‘advantage’ that Democrats may gain from the

             four-day grace period is one that appears to be equally available to, but simply less often

             employed by, Republicans.” ER-10. But this Court has never applied an “equal

             availability” exception to competitive standing. Rather, pleading the existence of “an

             allegedly unlawful election regulation” that “makes the competitive landscape worse for a

             candidate or that candidate’s party than it would otherwise be” is enough. 30 F.4th at

             898 (emphasis added). And the D.C. Circuit has explicitly rejected the “equal

             availability” theory. In Shays, the political candidates had standing even though their

             rivals did not “enjoy ‘special benefits’ unavailable to the two Congressmen.” 414 F.3d

             at 86. What mattered was that the new campaign finance rules opened opportunities

             for “rival state parties,” not that the rules opened the same opportunities for the

                                                         19
(29 of 59), Page 29 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 29 of 59




             plaintiff candidates. Id. The rules meant that the plaintiff candidates had to account for

             “additional tactics” that “fundamentally alter the environment in which rival parties

             defend their concrete interests (e.g., their interest in persuading regulators, retaining

             customers, or winning reelection).” Id.

                    Whether based on an illegally structured competitive environment or a real

             partisan disadvantage, the Plaintiffs’ complaint alleges a competitive injury. Indeed, “it

             would be odd” if Plaintiffs “couldn’t challenge more elementary distortions that alter

             the competitive environment’s overall rules.” Id. Because Plaintiffs pled that Nevada’s

             mail ballot deadline harms their electoral chances and requires them to compete in an

             illegally structured environment, they have pled an injury in fact.

                            2.    Plaintiffs plausibly alleged that permitting post-election
                                  receipt of mail ballots causes competitive and electoral
                                  injury to Republican candidates.

                    “Causation and redressability are generally implicit in injury-in-fact under the

             competitor standing doctrine.” Planned Parenthood, 946 F.3d at 1108. The injury is the

             resultant “increase in competition” rather than the direct regulation of the plaintiff. Id.

             While the “court does not have the power to decide the winner of” the competition, it

             “does have the power to decide that particular criteria are impermissible.” Id. at 1109.

             In the election context, courts frequently hold that parties and candidates have standing

             to challenge rules that result in increased competition. See, e.g., Tex. Democratic Party, 459

             F.3d at 587 & n.4 (collecting cases) (holding that the Texas Democratic Party had

             standing to challenge the replacement of the Republican candidate on the ballot).

                                                          20
(30 of 59), Page 30 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 30 of 59




                    Causation requires a “connection between the injury and the conduct

             complained of.” Lujan, 504 U.S. at 560. Nevada’s post-election mail-ballot deadline

             inarguably causes the competition between political parties for mail ballots to go on

             longer than it would under the federal election-day deadline. See Nev. Rev. Stat.

             §293.269921(1)-(2). The district court even acknowledged that the extended deadline

             causes “more work” for Plaintiffs. ER-13. Because Nevada permits mail-ballot receipt

             up to four days after election day, political parties, candidates, and campaigns must

             chase ballots through election day, as well as monitor the mail system for several

             additional days for any issues that could delay receipt of those ballots. That additional

             competitive work to chase ballots through election day is a natural result of extending

             the time for voters to return their ballots. See Shays, 414 F.3d at 86 (The “need to account

             for additional practices” and “additional campaign activity … supports Article III

             standing.”).

                    That competitive work is shouldered by the Plaintiff organizations—not voters.

             The district court reasoned that Plaintiffs’ injury “arises from the government’s allegedly

             unlawful regulation of a third party: Nevada voters.” ER-6 (cleaned up). It concluded

             that “[c]ausation and redressability therefore hinge on the response” of third parties—

             “voters”—and “[t]he causal link between counting mail ballots received after Election

             Day in Nevada” and “Plaintiffs’ alleged electoral injuries is too speculative to support

             standing.” ER-6-7. But by focusing on “the response” of “voters,” ER-7, the district

             court missed the “key” to Plaintiffs’ injury, Planned Parenthood, 946 F.3d at 1108. “The

                                                         21
(31 of 59), Page 31 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 31 of 59




             key is that the injury is the increase in competition.” Id. Regardless of the voters’

             behavior—or even their competitors’ behavior—Plaintiffs “are at the very least harmed

             by having to anticipate other actors taking advantage of the regulations to engage in

             activities that otherwise would be barred.” Shays, 414 F.3d at 87 (citation omitted).

                    Even if those competitive harms were insufficient, Plaintiffs allege that Nevada’s

             post-election deadline “hurts the candidate’s or party’s own chances of prevailing in the

             election.” Drake v. Obama, 664 F.3d 774, 782 (9th Cir. 2011). That injury “has been

             recognized by several circuits.” Id. at 783 (collecting cases). Just as the DNC was injured

             by voter behavior that was downstream from the ballot-order statute, Mecinas, 30 F.4th

             at 899-900, the RNC is injured by voter behavior that is downstream from the mail-

             deadline statute, ER-30-31. Again, the district court ruled that the causal link was

             broken by the intervening “response of those voters.” ER-7. But that reasoning is

             irreconcilable with “this Court’s long-held position that the ‘potential loss of an

             election’ may give rise to standing” to challenge election rules that are upstream of the

             voters’ predictable behavior. Mecinas, 30 F.4th at 899. Rules that affect the final vote

             tally always involve the actions of voters. But a political party has standing to avoid

             “harm to its election prospects,” and all that is required is that the party’s “chances of

             victory” are “reduced” by the law it challenges. Tex. Democratic Party, 459 F.3d at 586.

             Hence, “[p]olitical parties have often been determined to have standing to challenge the

             constitutionality of federal or state election laws.” Tex. Democratic Party v. Benkiser, 2006

             WL 1851295, at *3 (W.D. Tex. July 6, 2006) (collecting cases), aff’d, 459 F.3d 582.

                                                          22
(32 of 59), Page 32 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 32 of 59




                    At this stage, the district court was required to accept as true the Plaintiffs’

             allegations that the ballot-deadline harms Republicans’ electoral chances. Instead, the

             court disputed those factual claims. See ER-7 n.4. The Plaintiffs alleged that Nevada’s

             post-election receipt deadline “specifically and disproportionately harms Republican

             candidates and voters.” ER-32. “At the pleading stage,” those “general factual

             allegations of injury resulting from the defendant’s conduct” should have “suffice[d].”

             Lujan, 504 U.S. at 561.

                    But the complaint includes more. The complaint details how Democrats

             overwhelmingly vote by mail compared to Republicans both nationally and in Nevada.

             See ER-30-31. And it explains that “[m]ail ballots from Democratic voters also tend to

             arrive late” compared to mail ballots from Republican voters. ER-31. These facts result

             in the familiar “blue shift” in election results after late-arriving mail ballots are counted.

             ER-31. Plaintiffs provided specific data and sources to support these factual claims,

             even though “a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need

             detailed factual allegations.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). The

             district court nevertheless demanded yet “more specific information about the timing of

             mail voting in Nevada.” ER-7 n.4 (emphasis added). But the court was required to

             “presume that general allegations embrace those specific facts that are necessary to

             support the claim.” Lujan, 504 U.S. at 561 (cleaned up). Taking Plaintiffs’ allegations as

             true, the complaint provides sufficient “factual content” for “the court to draw the



                                                          23
(33 of 59), Page 33 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 33 of 59




             reasonable inference” that the later ballot-receipt deadlines harm Republican

             candidates’ electoral chances. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

                    The district court also misapplied precedent to support its causation analysis. The

             district court cited the holding in Alliance for Hippocratic Medicine that Plaintiffs “cannot

             rely on speculation about the unfettered choices made by independent actors” to

             establish standing. ER-7 (quoting All. for Hippocratic Med., 602 U.S. at 383). But that case

             does not discuss the competitive-standing doctrine. Rather, the plaintiffs in that case

             relied on a “doctor standing” theory, alleging injury due to a government regulation that

             might cause “more individuals” to “show up at emergency rooms or in doctors’ offices

             with follow-on injuries.” All. for Hippocratic Med., 602 U.S. at 391. When this Court has

             applied competitive standing, the behavior of voters does not break the causal chain. See

             Mecinas, 30 F.4th at 898. That’s because the injury “is the potential loss of an election,”

             not the potential loss of an individual vote. Owen, 640 F.2d at 1132. The district court’s

             reliance on Alliance for Hippocratic Medicine for competitive standing demonstrates that

             the court fundamentally misdiagnosed Plaintiffs’ competitive injury.

                            3.    Plaintiffs’ injuries are redressable by an order enjoining
                                  Defendants from enforcing the post-election deadline.

                    “Plaintiffs need not demonstrate that there is a ‘guarantee’ that their injuries will

             be redressed by a favorable decision.” Mecinas, 30 F.4th at 900 (citation omitted). Rather,

             “[r]edressability is satisfied so long as the requested remedy ‘would amount to a

             significant increase in the likelihood that the plaintiff would obtain relief that directly


                                                          24
(34 of 59), Page 34 of 59     Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 34 of 59




             redresses the injury suffered.’” Id. (citation omitted). The focus of redressability is “the

             connection between the alleged injury and requested relief.” Id. at 899 (citation omitted).

             So long as the requested relief would “likely” mitigate the Plaintiffs’ injury, id. at 896,

             redressability is satisfied.

                    Plaintiffs’ requested declaratory and injunctive relief would remedy their

             competitive and electoral injuries. Plaintiffs request a declaratory judgment that

             Nevada’s post-election deadline violates federal law. See ER-35. And they request an

             injunction against the Defendants from enforcing Nevada’s post-election deadline. See

             ER-35. The district court did not address whether these remedies against the

             Defendants would “increase in the likelihood” that Plaintiffs’ injuries would be

             redressed. Mecinas, 30 F.4th at 900 (citation omitted). But it’s well established that

             violations of the federal election-day statutes can be remedied through prospective

             injunctive relief. See, e.g., Foster v. Love, 522 U.S. 67, 72 (1997) (upholding prospective

             injunctive relief barring enforcement of an election system where “a contested selection

             of candidates for a congressional office … is concluded as a matter of law before the

             federal election day”). And because the Plaintiffs have shown injury and causation, see

             supra Sections I.A.1 & I.A.2, redressability is “generally implicit” where the Plaintiffs

             sued the state officials responsible for enforcing the rule that they challenge, Planned

             Parenthood, 946 F.3d at 1108.

                    The district court instead relied on Townley v. Miller, ER-6-7, in which this Court

             held that the Nevada Republican Party failed to show traceability and redressability for

                                                         25
(35 of 59), Page 35 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 35 of 59




             its challenge to a statute mandating the appearance of a ‘none of these candidates’

             option on the ballot. 722 F.3d 1128, 1131, 1135 (9th Cir. 2013). But the reason the

             party’s electoral injuries in Townley weren’t redressable was that the party “did not

             challenge the inclusion” of ‘none of these candidates’ “as a voting option on the ballot.”

             Id. at 1136. Instead, it challenged “only the subsection” of the law that prohibited ballots

             cast for ‘none of these candidates’ “from being given legal effect.” Id. The party’s

             “alleged competitive injury” (siphoning of votes to ‘none of these candidates’) would thus

             not have been redressed by an order requiring the State to “give legal effect to the

             ballots” cast for ‘none of these candidates.’ Id. As this Court recently clarified, it is

             “error” for a district court to construe Townley as “narrowing the scope of competitive

             standing.” Mecinas, 30 F.4th at 899 (cleaned up). “Rather than narrowing competitive

             standing as a basis for injury in fact, Townley reasserted this Court’s long-held position

             that ‘the potential loss of an election’ may give rise to standing.” Id.

                    To be sure, whether relief against the Defendants will change the outcome of an

             election is uncertain. But this Court has rejected the notion that Plaintiffs must allege

             that the rule they challenge “has changed (or will imminently change) the actual

             outcome of a partisan election.” Id. at 899 (citation omitted). Plaintiffs’ injuries thus do

             not rest on speculation about what “[s]ome affected voters might choose” to do. ER-

             8. At most, Plaintiffs’ partisan electoral injuries depend on “the predictable effect of

             Government action on the decisions of third parties.” Dep’t of Commerce v. New York,

             588 U.S. 752, 768 (2019). A predictable effect of Nevada’s extended mail-ballot deadline

                                                          26
(36 of 59), Page 36 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 36 of 59




             is that at least some mail ballots containing votes for candidates opposing Plaintiffs’

             candidates will be received and counted after Election Day. And because of the partisan

             tendencies of mail voting, those ballots as a whole harm Republican candidates’ electoral

             prospects. ER-30-31. Plaintiffs need not prove that an outcome-determinative number

             of votes will be received after Election Day to have standing. Mecinas, 30 F.4th at 899.

                    B.      The Plaintiff organizations plausibly alleged harm to their
                            preexisting core activities.

                    In addition to their competitive and electoral injuries, the Plaintiff organizations

             pled injury to their preexisting core activities to turn out Republican voters and elect

             Republican candidates. ER-22-23, 30-32. Plaintiffs allege that Nevada’s post-election

             deadline makes their ballot-chase programs and poll-watching activities more difficult

             and less effective, which necessarily harms their ability to turn out Republican voters

             and elect Republican candidates. ER-22-23. Those are not “abstract social interests.”

             Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982). They are concrete, preexisting

             activities that are essential to the Plaintiff organizations. See id.

                    The district court recognized that Nevada’s revised mail-ballot deadline “might,”

             “could,” and “may” cause all these injuries. ER-12. But the court still ruled that

             Plaintiffs’ alleged injuries were not legally “cognizable.” ER-11. That ruling conflicts

             with recent organizational standing precedent. See All. for Hippocratic Med., 602 U.S. at

             393-96; Ariz. All. for Retired Ams., 117 F.4th at 1173-79. Further, to reach its decision,

             the district court analyzed the wrong injury, coming up with separate theories of


                                                           27
(37 of 59), Page 37 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 37 of 59




             standing that Plaintiffs did not present, attributing those theories to Plaintiffs, and then

             dismissing Plaintiffs’ entire case based on those irrelevant standing theories. ER-13.

             Each of these errors warrants reversal.

                            1.    Nevada’s post-election ballot-receipt deadline impedes the
                                  Plaintiffs’ activities to turn out Republican voters and elect
                                  Republican candidates.

                    Organizations—no less than individuals—have standing if they allege a

             “personal stake in the outcome of the controversy.” Arlington Heights, 429 U.S. at 261

             (citation omitted). One way an organization can plead an “injury in fact” is by alleging

             a “concrete and demonstrable injury to the organization’s activities” accompanied by a

             “consequent drain on the organization’s resources.” Havens Realty, 455 U.S. at 379. The

             “injury to the organization’s activities” is a necessary ingredient. Id. “Organizations can

             no longer spend their way to standing based on vague claims that a policy hampers their

             mission.” Ariz. All. for Retired Ams., 117 F.4th at 1170. Thus, an organization suffers an

             injury when “a challenged governmental action directly injures the organization’s pre-

             existing core activities and does so apart from the plaintiffs’ response to that

             governmental action.” Id.

                    The Plaintiff organizations engage in regular activities that are injured by the

             post-election deadline. “The RNC works to elect Republican candidates to state and

             federal office.” ER-22. To achieve those goals, the RNC engages “in-person voting

             activities and election-integrity measures,” as well as “mail ballot chase programs and

             post-election activities” such as ballot observation. ER-22-23, 29. As a Mississippi

                                                         28
(38 of 59), Page 38 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 38 of 59




             district court recently explained, post-election receipt of mail ballots requires the RNC

             “to perform more extensive and expensive ballot-chasing and poll-watching efforts

             necessitated by the acceptance of absentee ballots received after election day.” RNC v.

             Wetzel, 2024 WL 3559623, at *4. Extending the deadline for mail-ballot receipt

             necessarily extends the competition for mail ballots. And to “elect Republican candidates”

             and turn out Republican voters, the RNC must participate in that extended competition.

             ER-22.

                    The RNC is thus put in a Catch-22: forego the extended competition for mail

             ballots, or “divert resources from in-person voting activities and election-integrity

             measures, and instead spend money on mail ballot chase programs.” ER-22-23. Either

             decision “frustrates and impedes the Republican Party’s mission of ‘represent[ing] the

             interests of the Republican Party and secur[ing] the election of Republican candidates

             for state and federal office.’” RNC v. Wetzel, 2024 WL 3559623, at *4 (quoting Democratic

             Cong. Campaign Comm. v. Kosinski, 614 F. Supp. 3d 20, 45 (S.D.N.Y. 2022) (collecting

             cases)). The NVGOP engages in similar activities to advance similar interests. See ER-

             23.

                    Nevada law also gives the Plaintiff organizations a statutory right to observe

             ballot counting. State law guarantees different political parties the right to be

             represented on county mail-ballot central counting boards. See Nev. Rev. Stat.

             §293.269929(2) (“The voters appointed as election board officers for the mail ballot

             central counting board must not all be of the same political party.”). State law also

                                                        29
(39 of 59), Page 39 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 39 of 59




             guarantees Plaintiffs the right to observe the handling and counting of mail ballots. See

             id. §293.269931(1); Nev. Admin. Code §§293.322(3)-(4), .356(1). Because counting may

             continue up to “the seventh day following an election,” Nev. Rev. Stat. §293.269931(1),

             “[c]ounting ballots received after Election Day thus requires Plaintiffs and their

             members to divert more time and money to post-election mail ballot activities,” ER-29.

             Those activities include, for example, “training of poll watchers, ‘preparation of relevant

             materials, payment to attorneys for review, and securing additional volunteer time.’”

             RNC v. Wetzel, 2024 WL 3559623, at *4.

                    Each of these injuries “is not mere abstract concern about a problem of general

             interest.” Arlington Heights, 429 U.S. at 263. They are concrete injuries to each

             organization’s core activities that “the general population will not experience.” RNC v.

             Wetzel, 2024 WL 3559623, at *5. Even each organizations’ concrete goals are not

             identical. The RNC is focused on electing Republicans nationwide. ER-22. The

             NVGOP is focused on electing Republicans in Nevada. ER-23. And the 2024 Trump

             Campaign was focused on reelecting Donald Trump. ER-23. These are not the sort of

             “abstract organizational mission[s]” like “ensuring equal protection or safeguarding

             property rights” of which federal courts are skeptical. Ariz. All. for Retired Ams., 117

             F.4th at 1175. They are concrete objectives with tangible outcomes. And the Plaintiffs’

             core activities affected by late ballots—voter-turnout efforts, ballot chasing, and poll-

             watching—directly further those concrete goals. Put simply, if “a political party can



                                                         30
(40 of 59), Page 40 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 40 of 59




             marshal its forces more effectively by winning its lawsuit, that ought to be enough for

             Article III.” Fair Elections Ohio v. Husted, 770 F.3d 456, 460 (6th Cir. 2014).

                    Alliance for Hippocratic Medicine confirms these principles. In that case, the

             Supreme Court held that medical associations did not have standing to challenge an

             FDA regulation simply because of “incurring costs to oppose FDA’s actions.” All. for

             Hippocratic Med., 602 U.S. at 394. But the Plaintiffs here don’t rely on costs taken “to

             oppose” Nevada’s post-election deadline. Id. Rather, they rely on injury to their “core

             business activities” to turn out and elect Republicans. Id. at 395. This would be a

             different case if the RNC relied on money spent to oppose Nevada’s post-election

             deadline because it harmed Republican values or conflicted with the RNC’s ideals.

             Those are the sort of “abstract social interests” that the Supreme Court warned against.

             Havens Realty, 455 U.S. at 379. But the Plaintiff organizations rely on injury to their core

             activities that occurs regardless of whether they act “to oppose” Nevada’s post-election

             deadline. All. for Hippocratic Med., 602 U.S. at 394.

                    Indeed, following Alliance for Hippocratic Medicine, both the Fourth and Fifth

             Circuits have upheld the RNC’s organizational standing to challenge election laws. The

             Fourth Circuit held that the RNC and North Carolina Republican Party had standing

             to challenge North Carolina’s failure to comply with federal law regarding voter-

             registration forms. See Republican Nat’l Comm. v. N.C. State Bd. of Elections, 120 F.4th 390,

             399 (4th Cir. Oct. 29, 2024). In that case, the RNC alleged that the State’s actions

             “directly impact Plaintiffs’ core organizational missions of election security and

                                                          31
(41 of 59), Page 41 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 41 of 59




             providing services aimed at promoting Republican voter engagement and electing

             Republican candidates for office.” Id. at 396-97. The Fourth Circuit analogized those

             injuries to Havens. Just as in Havens, where “the plaintiff’s core mission included

             counseling low-and moderate-income home buyers,” the “core mission of the RNC

             and the NVGOP is to counsel voters to support Republican candidates.” Id. at 397.

             Here, Plaintiffs have alleged that Nevada’s post-election deadline harms the Plaintiffs’

             ability to do just that. This case, just like the RNC’s challenge to North Carolina’s

             election laws, “involves more than simply an organization’s efforts to ‘spend its way

             into standing.’” Id. at 396 (quoting Havens Realty, 455 U.S. at 394).

                    The Fifth Circuit agrees. This year, the RNC challenged Mississippi’s law

             permitting mail ballots to be received up to five business days after the election. On

             summary judgment, the Secretary of State and intervenors challenged the RNC’s

             standing. The district court rejected their arguments in a thorough opinion. “The RNC

             and the Mississippi Republican Party have established that they suffered concrete

             injuries in the form of economic loss and diversion of resources.” RNC v. Wetzel, 2024

             WL 3559623, at *5. On appeal, no party challenged the district court’s ruling that the

             RNC and Mississippi Republican Party had organizational standing. See RNC v. Wetzel,

             120 F.4th at 205 n.3. But each court “has an independent obligation to assure that

             standing exists, regardless of whether it is challenged by any of the parties.” Summers v.

             Earth Island Inst., 555 U.S. 488, 499 (2009). And in a case that is virtually identical to this

             one, the Fifth Circuit concluded that “[j]urisdiction is proper” because “this case fits

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(42 of 59), Page 42 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 42 of 59




             comfortably within our precedents.” RNC v. Wetzel, 120 F.4th at 205 & n.3 (citing OCA-

             Greater Hous., 867 F.3d at 610; Vote.Org, 89 F.4th at 471).

                    The district court’s decision in this case splits with the Fourth and Fifth Circuits.

             The district court recognized that Nevada’s revised mail-ballot receipt deadline “may

             require” Plaintiffs to “devote more resources to poll watching and election-integrity

             trainings” and to “mail ballot chase program[s]” after election day. ER-12. And the

             court acknowledged that by extending ballot receipt by four additional days, Nevada

             gave Plaintiffs “more work” to do and “more time” to do it. ER-11, 13. The district

             court likened Plaintiffs to “physicians” who “challenge the approval of a drug simply

             because more individuals might then show up in doctor’s offices with follow-on

             injuries.” ER-13 (cleaned up). “It is hard to take that analogy seriously” when the court

             is likening political parties to a “business saying that it is injured by a change in … law

             that created more business for it.” Common Cause Ind. v. Lawson, 937 F.3d 944, 954 (7th

             Cir. 2019) (refuting similar analogy to tax business). Extending election deadlines

             doesn’t create more “business” for the RNC and NVGOP. Id. It creates more “work”

             for them to achieve their “specific mission” of electing their candidates. Id. Legislation

             that “force[s] them to reduce or eliminate their work in certain areas—voter education,

             get-out-the-vote efforts, and new registrations,” to mitigate “a frustrated mission”

             imposes an organizational injury. Id. “Under Havens, those are concrete injuries.” Id.

                    By comparing Plaintiffs to doctors, the district court misunderstood Plaintiffs’

             core political mission, which is “protecting the ability of Republican voters to cast, and

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(43 of 59), Page 43 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 43 of 59




             Republican candidates to receive, effective votes in Nevada elections and elsewhere,”

             ER-22. “In a world of limited resources—that is, the real world—the Organizations

             must decide which tasks will achieve those goals most effectively.” Common Cause Ind.,

             937 F.3d at 954. Nevada’s revised mail-ballot deadline “cause[s]” Plaintiffs “to curtail

             and divert resources away from specific activities and projects—registration of

             Republican voters and efforts to increase in-person turnout—in order to perform more

             extensive and expensive ballot-chasing and poll-watching efforts necessitated by the

             acceptance of absentee ballots received after election day.” RNC v. Wetzel, 2024 WL

             3559623, at *4. Therefore, “by adding” new activities “to their workload,” Nevada’s

             extended mail-ballot deadline costs Plaintiffs “time and money they would have spent

             differently or not spent at all.” Common Cause Ind., 937 F.3d at 954.

                    Defendants might argue that these injuries are of Plaintiffs’ own making and that

             Plaintiffs are engaging in a “self-help theory of standing” that this Court has rejected.

             Ariz. All. for Retired Ams., 117 F.4th at 1175. To be sure, organizations cannot

             manufacture an injury by “voluntarily” spending money to educate voters about a law

             change, id., or simply spending money “to gather information and advocate against” a

             government regulation, All. for Hippocratic Med., 602 U.S. at 370. But Plaintiffs don’t rely

             on those sorts of voluntary costs to help third parties avoid some harm. Instead, Plaintiffs

             allege that they “would have suffered some other injury” had they “not diverted

             resources to counteracting the problem.” La Asociacion de Trabajadores de Lake Forest v.

             City of Lake Forest, 624 F.3d 1083, 1088 (9th Cir. 2010).

                                                         34
(44 of 59), Page 44 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 44 of 59




                    The Plaintiffs’ independent injury makes this case fundamentally different from

             Arizona Alliance. In that case, a voter registration organization was just trying to “register

             and educate voters” and challenged a state law that “could cause voters’ current

             registrations—rather than old, outdated registrations—to be cancelled.” Ariz. All. for

             Retired Ams., 117 F.4th at 1178. But whether voters registrations were cancelled or not,

             “the plaintiffs can still register and educate voters—in other words, continue their core

             activities that they have always engaged in.” Id. In contrast, the Plaintiffs here don’t

             merely want to turn out voters in the abstract. They want to maximize Republican

             turnout relative to their competition so that they can “elect Republican candidates to

             state and federal office.” ER-22.

                    In other words, unlike the voter-registration organization in Arizona Alliance, the

             Plaintiffs here compete for votes. And like college admissions, elections “are zero-sum,”

             which is why “[a] benefit provided to [one] but not to others necessarily advantages the

             former … at the expense of the latter.” Students for Fair Admissions, Inc. v. President &

             Fellows of Harvard Coll., 600 U.S. 181, 218-29 (2023). Plaintiffs must chase mail ballots

             or risk losing elections. See ER-30-32. They are thus spending “resources offsetting” the

             harm to their “existing activities” to work to elect Republican candidates. Ariz. All. for

             Retired Ams., 117 F.4th at 1175.




                                                          35
(45 of 59), Page 45 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 45 of 59




                            2.     The Plaintiff organizations have plausibly alleged causation
                                   and redressability.

                    “[T]o establish causation, the plaintiff must show a predictable chain of events

             leading from the government action to the asserted injury—in other words, that the

             government action has caused or likely will cause injury in fact to the plaintiff.” All. for

             Hippocratic Med., 602 U.S. at 385. When that chain of events involves third parties, “the

             plaintiff must show that the ‘third parties will likely react in predictable ways’ that in

             turn will likely injure the plaintiffs.” Id. at 383 (citation omitted).

                    Here, it’s “sufficiently predictable”—indeed, all but certain—that later mail

             deadlines will result in at least some voters returning their mail ballots at the last minute.

             Id. And as Plaintiffs allege, those late ballots “specifically and disproportionately harm[]

             Republican candidates,” in part because “[m]ail ballots from Democratic voters … tend

             to arrive late.” ER-22, 31. Even if those late ballots didn’t harm Republican candidates

             directly—or even if voters didn’t vote late at all—the Plaintiff organizations would still

             have to anticipate those “sufficiently predictable” events. All. for Hippocratic Med., 602

             U.S. at 383. That is, the post-election election deadline creates circumstances in which

             the Plaintiff organizations must organize their strategies and activities to account for

             late-arriving ballots regardless of whether those ballots actually arrive late or actually favor

             Plaintiffs’ competitors. And courts generally don’t “second-guess a candidate’s

             reasonable assessment of his own campaign.” Becker v. FEC, 230 F.3d 381, 387 (1st Cir.




                                                           36
(46 of 59), Page 46 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 46 of 59




             2000) (citing Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167

             (2000)).

                    In response to Plaintiffs’ injuries, the district court asserted that “[a]ny diversion

             of resources” by Plaintiffs to post-Election Day activities is nothing more than

             “business as usual” and thus not a “diversion” as contemplated by Havens. ER-11, 13

             (cleaned up). But that reasoning inverts what this Court said in Arizona Alliance: courts

             “must not allow the diversion of resources in response to a policy to confer standing—

             instead, the organization must show that the new policy directly harms its already-existing

             core activities.” 117 F.4th at 1177. Plaintiffs’ “in-person Election Day get-out-the-vote

             activities,” ER-29, are the “already-existing core activities” that are harmed by extending

             mail-voting deadlines, Ariz. All. for Retired Ams., 117 F.4th at 1177. With limited

             resources, the Plaintiff organizations must choose one or the other. They cannot pursue

             both effectively.

                    Moreover, “the causation inquiry can be heavily fact-dependent and a ‘question

             of degree.’” All. for Hippocratic Med., 602 U.S. at 384. That fact-dependent inquiry makes

             causation easy to plead in a complaint, particularly because Havens does not require

             Plaintiffs to prove “a seismic shift from work within [their] mission to work outside of

             it” to support Article III standing. Common Cause Ind., 937 F.3d at 954. The district court

             admitted that Nevada’s law would result in “additional expenditures” for Plaintiffs, ER-

             11, which is good evidence that the law burdens Plaintiffs’ core political activities with



                                                          37
(47 of 59), Page 47 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 47 of 59




             an “added cost,” Crawford v. Marion Cnty. Election Bd., 472 F.3d 949, 951 (7th Cir. 2007),

             aff’d, 553 U.S. 181, 189 n.7 (2008).

                    As for redressability, “[i]f a defendant’s action causes an injury, enjoining the

             action or awarding damages for the action will typically redress that injury.” All. for

             Hippocratic Med., 602 U.S. at 381. The Plaintiffs here request an order declaring ballots

             arriving after election day invalid, and enjoining Defendants from enforcing Nevada’s

             post-election receipt deadline. “Such an order would address Plaintiffs’ alleged injury

             and permit them to reallocate their resources accordingly.” RNC v. N.C. State Bd. of

             Elections, 120 F.4th at 398. The district court didn’t suggest otherwise.

                            3.    The district court analyzed the wrong injuries.

                    Reversal is also warranted because the district court “misunderstood the nature

             of the injury-in-fact alleged to have been suffered by [Plaintiffs].” Bernhardt v. Cnty. of

             Los Angeles, 279 F.3d 862, 871 (9th Cir. 2002). The district court claimed that Plaintiffs

             had not presented “evidence” that they “would not round up mail ballots in

             substantially the same manner if they were due at county clerks’ offices on Election Day

             instead of four days later.” ER-11. But that was not the injury Plaintiffs pled. Rather,

             they alleged that because Nevada now allows for mail ballots to be received for a far

             longer period than in-person votes, Plaintiffs had to take away resources from their

             programs to “corral[] in-person voters on Election Day” and divert those resources to

             “running mail ballot collection operations” for a longer period through Election Day.

             ER-11; see also ER-22-23, 29. Plaintiffs did not claim that they had to round up mail

                                                         38
(48 of 59), Page 48 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 48 of 59




             ballots in a different manner due to Nevada’s revised mail-ballot deadline. The district

             court came up with that allegation on its own. Because “the court’s focus” was on the

             wrong injury, the district court’s entire standing analysis “was misplaced” and must be

             reversed. Bernhardt, 279 F.3d at 871.

                    The district court’s “misunderstanding” of Plaintiffs’ “alleged injury also led it to

             rely erroneously” on irrelevant precedent. Id. Specifically, the district court relied on a

             previous decision in Donald J. Trump for President, Inc. v. Cegavske, where the court

             concluded that allegations of voter confusion due to a later mail-ballot deadline do not

             suffice to establish an injury-in-fact. 488 F. Supp. 3d at 1001-02. But Plaintiffs don’t

             allege voter confusion in this case. Rather, Plaintiffs allege that their on-the-ground

             activities are directly affected by rules that change the deadline for ballots. See ER-22-

             23, 32. From the outset of these proceedings, Plaintiffs made clear that “[t]his case is

             different” from Cegavske. ER-21. The district court ignored those differences.

                    The district court also faulted Plaintiffs for failing to allege “that the Nevada mail

             ballot receipt deadline harms the integrity of the mail ballot counting process, such as

             by increasing the risk of error or fraud.” ER-13. But whether late-arriving ballots are

             fraudulent is beside the point. A post-election mail-ballot deadline requires the Plaintiff

             organizations to “divert more time and money to post-election mail ballot activities”

             such as observing “the handling and counting of mail ballots.” ER-29. Nevada law

             requires election officials to “determine[]” the “date of the postmark,” and count the

             ballot if it is “postmarked on or before the day of the election” and received within four

                                                          39
(49 of 59), Page 49 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 49 of 59




             days after the election. Nev. Rev. Stat. §293.269921. But under an election-day

             deadline—that is, under federal law—the postmark is irrelevant; all ballots must be

             received by election day. A novel postmark rule requires Plaintiffs to “divert more time

             and money” to “observe the handling and counting of mail ballots,” ER-29, by, for

             example, devoting “‘additional poll-watcher coverage,’ including training of poll

             watchers.” RNC v. Wetzel, 2024 WL 3559623, at *4. The district court’s reasoning

             “misses the thrust of plaintiffs’ claims.” Maya v. Centex Corp., 658 F.3d 1060, 1071 (9th

             Cir. 2011). This Court should reverse.

                 II. Plaintiff organizations have associational standing.
                     The RNC and NVGOP also have standing as a representative of their political-

             candidate members. An association “may have standing” to represent its members

             “[e]ven in the absence of injury” to itself. Warth v. Seldin, 422 U.S. 490, 511 (1975). An

             association has standing when, among other things, one of its “members would

             otherwise have standing to sue in their own right.” Hunt v. Wash. State Apple Advert.

             Comm’n, 432 U.S. 333, 343 (1977). And here, the RNC and NVGOP’s candidates are

             injured because Nevada’s law allows unlawful ballots to be counted in their races, and

             an order barring the counting of unlawful ballot would remedy their injury. Thus, the

             RNC and NVGOP have associational standing.3


             3
               Defendants and the district court challenged associational standing on only one
             ground: whether the RNC had sufficiently pled that its members were injured. ER-13-
             14. No one contests that the RNC and NVGOP meet the other two requirements—
             germaneness and the absence of a need of participation of individual members. Hunt,

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(50 of 59), Page 50 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 50 of 59




                    The RNC and NVGOP’s candidates are injured when unlawful ballots are

             counted. “An inaccurate vote tally is a concrete injury to candidates such as the

             Electors.” Carson v. Simon, 978 F.3d 1051, 1058 (9th Cir. 2020). No one doubts that

             candidates have standing to challenge unlawful ballots after the election. See, e.g., Trump

             v. Wis. Elections Comm’n, 983 F.3d 919, 924 (7th Cir. 2020). A “political candidate” suffers

             “a personal, distinct injury” when unlawful ballots are counted, or lawful ballots are

             excluded. Wood v. Raffensperger, 981 F.3d 1307, 1314 (11th Cir. 2020) (citing Roe v.

             Alabama ex rel. Evans, 43 F.3d 574, 578 (11th Cir. 1995)); cf. Carney v. Adams, 592 U.S.

             53, 66 (2020) (holding that a plaintiff had not proved injury in fact where he was merely

             a potential candidate and had not yet applied for appointment to the position). These

             post-election disputes by candidates over the validity of ballots are well known in

             election litigation. E.g., Bush v. Gore, 531 U.S. 98, 100 (2000).

                    The injury of late ballots is no less certain before the election. The district court

             itself recognized that Plaintiffs allege Nevada’s “post-election receipt deadlines” allow

             Nevada “to count invalid votes,” which “violates” Republican candidates’ “rights to

             stand for office.” ER-5. These “injuries are also imminent” because “the statute

             currently requires” four more days “for receipt, processing, and counting of absentee

             ballots following the next election in November.” RNC v. Wetzel, 2024 WL 3559623, at



             432 U.S. at 343. Those requirements are easily met anyway since election of their
             candidates is at the core of the RNC and NVGOP’s missions, and they seek only
             declaratory and injunctive relief.

                                                          41
(51 of 59), Page 51 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 51 of 59




             *5. Ballots received after election day are necessarily invalid because they violate the

             federal “day for the election.” 2 U.S.C. §§1, 7; 3 U.S.C. §1. The Defendants dispute that

             conclusion, but “[f]or standing purposes, [courts] accept as valid the merits of [the

             plaintiff’s] legal claims.” FEC v. Cruz, 596 U.S. 289, 298 (2022). And “[i]f correct on the

             merits, as [the court] must assume for standing purposes, [Plaintiffs’] challenge presents

             a clearly redressable injury.” Sierra Club v. EPA, 699 F.3d 530, 533 (D.C. Cir. 2012);

             accord Idaho Conservation League v. Bonneville Power Admin., 83 F.4th 1182, 1189 (9th Cir.

             2023) (“That petitioners’ theory may fail on the merits does not mean petitioners lack

             standing to raise it.”).

                    Courts have thus found that political committees have “associational standing”

             to represent their “party’s candidate” in challenges to unlawful election rules. Tex.

             Democratic Party, 459 F.3d at 587. That principle is narrow, particularly as applied here:

             whatever injuries a candidate might suffer from other election regulations—such as

             ballot-casting procedures, fraud-prevention measures, or registration rules—there’s no

             doubt that rules governing the validity of ballots can injure candidates. Because

             counting ballots received after election day necessarily results in an “inaccurate vote

             tally,” which itself “is a concrete injury to candidates,” Carson, 978 F.3d at 1058,

             candidates and their parties have standing to challenge State rules that require counting

             of these invalid ballots.

                    Plaintiffs represent numerous Republican candidates seeking election in Nevada.

             ER-22-23. Plaintiffs brought this suit “in a representational capacity to vindicate the

                                                         42
(52 of 59), Page 52 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 52 of 59




             rights” of those “candidates” who are their members. ER-22-23. Plaintiffs pled that

             Nevada’s revised mail-ballot deadline “violates the rights of candidates,” ER-21, and

             argued that those candidates “have a cognizable interest in ensuring that the final vote

             tally accurately reflects the legally valid votes cast,” Carson, 978 F.3d at 1058.

                    But the district court determined that Plaintiffs’ associational standing to

             vindicate the rights of Republican candidates did “not warrant discussion.” ER-17.

             Indeed, the district court confined its analysis of associational standing to determining

             whether Plaintiffs had standing “on behalf of their members who vote in Nevada”—

             not the Republican candidates whom Plaintiffs represent. ER-14. The district court

             erred by refusing to examine Plaintiffs’ associational standing to represent Republican

             candidates who are injured by Nevada’s revised mail-ballot deadline. Plaintiffs plausibly

             pled that the candidates who are members of their organizations are directly injured by

             Nevada’s revised mail-ballot deadline.

               III. The district court improperly disputed Plaintiffs’ factual claims.
                    Plaintiffs were only required to allege standing, not prove it, to survive a motion

             to dismiss. Standing must be supported “with the manner and degree of evidence

             required at the successive stages of the litigation.” Lujan, 504 U.S. at 561. It is thus

             “significant” that this Court is “reviewing” the district court’s grant of “a motion to

             dismiss, and not a summary judgment on the issue of standing.” Desert Citizens Against

             Pollution v. Bisson, 231 F.3d 1172, 1178 (9th Cir. 2000). At the motion-to-dismiss stage,




                                                          43
(53 of 59), Page 53 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 53 of 59




             “courts must accept as true all material allegations of the complaint, and must construe

             the complaint in favor of the complaining party.” Warth, 422 U.S. at 501.

                    But the district court required Plaintiffs to produce “evidence” of their injuries

             in response to the motions to dismiss. ER-11. Throughout its opinion, the court refused

             to accept Plaintiffs’ plausible allegations and instead made factual findings that directly

             contradict the allegations in the Complaint. Plaintiffs alleged that they face competitive

             electoral harm due to Nevada’s revised mail-ballot deadline. ER-32. But the district

             court concluded that the threat of competitive electoral harm is “entirely uncertain.”

             ER-8. Plaintiffs provided sources for their claims about partisan and mail voting trends.

             ER-30-32. But the district court questioned the validity of those sources and demanded

             “more specific information about the timing of mail voting in Nevada.” ER-7 n.4.

             Plaintiffs alleged that chasing mail ballots through election day was new business. ER-

             21, 33. But the district court found that it was “business as usual.” ER-11 (cleaned up).

             Plaintiffs alleged that they must divert resources for ballot-counting observation. ER-

             29. But the district court was “not fully convinced [Plaintiffs] have imminent plans to

             hold these trainings and hire poll workers.” ER-12 n.7. Plaintiffs alleged that they must

             spend additional time and money in response to Nevada’s revised mail-ballot deadline.

             ER-29. But the district court ruled that “additional time and money will not be expended

             ‘in response to’” Nevada’s revised mail-ballot deadline. ER-12 (emphasis added)

             (citation omitted).



                                                         44
(54 of 59), Page 54 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 54 of 59




                    The district court also relied on its own speculation about why the Plaintiffs’

             factual allegations might not be true. Plaintiffs claimed that they must divert funding from

             in-person turnout to run mail-ballot operations through election day. ER-29. But the

             district court found that “[t]he record is devoid of evidence” that Plaintiffs couldn’t

             “just conduct those same activities a few days earlier in November or over a shortened

             period of time.” ER-11. Plaintiffs provided detailed claims of partisan and mail voting

             trends. ER-30-31. But the district court speculated that “[s]ome affected voters might

             choose to forgo voting altogether,” or “other factors” might mean that things play out

             differently. ER-11. Subjecting the Plaintiffs to this heighted burden at the pleading stage

             warrants reversal. See Warth, 422 U.S. at 501.

                    The district court’s application of an improper standard was confirmed by its

             conversion of Defendants’ motions to dismiss from a “facial attack” into a “factual

             attack” on Plaintiffs’ “jurisdictional allegations.” Leite v. Crane Co., 749 F.3d 1117, 1121

             (9th Cir. 2014). “When the Rule 12(b)(1) motion is facial, i.e., based solely on the

             allegations of the complaint,” Plaintiffs have “no evidentiary burden.” Carter v.

             HealthPort Techs., LLC, 822 F.3d 47, 56 (2d Cir. 2016); accord Leite, 749 F.3d at 1121. The

             district court relied on Friends of the Earth v. Sanderson Farms to support its conclusion

             that Plaintiffs are “[e]ngaging in the same mail ballot collection push with slightly

             different timing,” which is a “‘continuation of existing advocacy,’ not an ‘affirmative

             diversion of resources.’” ER-11 (quoting Friends of the Earth v. Sanderson Farms, Inc., 992

             F.3d 939, 943 (9th Cir. 2021)). But Friends of the Earth was a factual challenge to plaintiffs’

                                                           45
(55 of 59), Page 55 of 59    Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 55 of 59




             standing that the district court considered only after “extensive discovery” had taken

             place. 992 F.3d at 943. The district court’s misplaced reliance on Friends of the Earth

             shows that it improperly imposed an evidentiary burden upon Plaintiffs at the pleading

             stage by treating Defendants’ motion to dismiss as a factual—not facial—challenge to

             Plaintiffs’ standing.

                    If allowed to stand, the district court’s jurisdictional ruling on the pleadings

             converts organizational standing into an impossible standard. Alliance for Hippocratic

             Medicine, after all, was a decision on a “preliminary injunction” motion. 602 U.S. at 377.

             Arizona Alliance also concerned a “preliminary injunction.” 117 F.4th at 1169. Those

             plaintiffs thus faced a heighted evidentiary burden to show organizational injury. See All.

             for Hippocratic Medicine, 602 U.S. at 391. In contrast, Havens held that the plaintiffs’ two-

             sentence allegation was sufficient to allege an Article III injury: “Plaintiff HOME has been

             frustrated by defendants’ racial steering practices in its efforts to assist equal access to

             housing through counseling and other referral services. Plaintiff HOME has had to

             devote significant resources to identify and counteract the defendant’s racially

             discriminatory steering practices.” 455 U.S. at 379 (cleaned up). Even under that single

             “broadly alleged” claim, there was “no question that the organization has suffered injury

             in fact.” Id. The complaint here includes far more detail about what activities are

             harmed, how those activities are harmed, and how the Plaintiff organizations must

             divert resources to counteract those harms. The district court erred by requiring more.

             See Warth, 422 U.S. at 501.

                                                          46
(56 of 59), Page 56 of 59     Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 56 of 59




               IV. In the alternative, the Court should remand with instructions to enter
                   dismissal without prejudice.
                    Even setting aside its erroneous standing decision, the district court should have

             allowed Plaintiffs to amend their complaint. “In general, dismissal for lack of subject

             matter jurisdiction is without prejudice.” Missouri ex rel. Koster v. Harris, 847 F.3d 646,

             656 (9th Cir. 2017). That’s because “[c]laims should be dismissed with prejudice only

             when it is clear that no amendment could cure a defect in the complaint.” City of Oakland

             v. Hotels.com LP, 572 F.3d 958, 962 (9th Cir. 2009). Even if this Court disagrees that the

             complaint alleges a concrete injury, at least “[i]n theory,” the “Plaintiffs could allege …

             facts that might support standing.” Koster, 847 F.3d at 656. Indeed, RNC v. Wetzel proves

             that these same Plaintiffs can not only plead an organizational injury—they can also

             prove that injury on summary judgment. 120 F.4th at 205 & n.3. “As a result, the

             complaint should have been dismissed without prejudice.” Koster, 847 F.3d at 656.

                    At best, the district court’s order and judgment are unclear. The court granted

             the Defendants’ motions to dismiss because it found that “Plaintiffs have failed to

             demonstrate that the Court has standing to exercise jurisdiction over this case.” ER-17.

             The opinion simply says, “The Clerk of Court is directed to close this case and enter

             judgment accordingly.” ER-17. The final judgment says the same thing: the “motions

             to dismiss” are “granted,” and “judgment is hereby entered accordingly and this case is

             closed.” ER-3.




                                                         47
(57 of 59), Page 57 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 57 of 59




                    In this situation, this Court regularly remands to “order the district court to

             modify its decision to specify that [the plaintiffs’] claim is ‘dismissed without

             prejudice.’” Freeman v. Oakland Unified Sch. Dist., 179 F.3d 846, 847 (9th Cir. 1999). Even

             when this Court “affirm[s] the dismissal for lack of subject matter jurisdiction,” it will

             “remand so that the dismissal is without prejudice.” Hotels.com, 572 F.3d at 962; see also,

             e.g., Kelly v. Fleetwood Enters., 377 F.3d 1034, 1040 (9th Cir. 2004) (“AFFIRMED with

             instructions to the district court to enter an order of dismissal without prejudice.”);

             Koster, 847 F.3d at 656 (same). “Nothing in this case suggests a reason to depart from

             this general rule.” Hotels.com, 572 F.3d at 962.

                                                 CONCLUSION
                    For these reasons, this Court should reverse the district court’s judgment or, in

             the alternative, remand with instructions to enter dismissal without prejudice.


               DATED this 20th day of November, 2024            Respectfully submitted,

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                                                         48
(58 of 59), Page 58 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 58 of 59




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(59 of 59), Page 59 of 59   Case: 24-5071, 11/20/2024, DktEntry: 13.1, Page 59 of 59




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